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                            X TED STA TES DISTRICT COURT                                    JUL c       .
                        F0R TH E W ESTERN DISTRICT 0F V IRGINIA                            BK       .
                                                                                                            :
                                   DAN VILLE DIVISION                                          D            E K

 RAYM OND E.HERR ING ,

               Plaintiff

                                                                 CivilA ction No.; 4:18cv00007

 H ERITA GE TOW ER S APA RTM EN TS LLC,

               D efendant.


               STIPULATION ANP
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        PursuanttoFederalRuleofCivilProcedure41(a)(2),plaintiff,RaymondE.Herring,and
 defendant,Heritage Tow ersApartm entsLLC,by and tilrough theirundersigned counsel,com e

 beforethe Courtto stipulate to dism issalofthism atterin its entirety,asthe partiesagree to

 dismissalofthisactionwithprejudice.
        Forgood causeshown,and itappearingtotheCourtthatthepartieshavereached a

 settlement,itis hereby ORDERED thatthism atterbe atld hereby isDISM ISSED W ITH

 PM JUDICE. Each party isto pay itsow n costsand attom eys'feesin thism atter.

        And the Clerk ofthis Courtisdirected to forthw ith certify a copy ofthisOrderand forward

 toeachcounselofrecordandstrikethismatterfrom thedocket.

        ThisOrderisFW A L.

        ENTERED this       = dayo                                             2019.
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Case 4:18-cv-00007-JLK-RSB Document 14 Filed 01/08/19 Page 2 of 2 Pageid#: 59




 W eask forand consenttotheentry ofthisOrder:


 /s/    C.K ailaniM em m er
 C.KallaniM emmer(VSB No.34673)
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 CounselforDefendant

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